                     Case 8-20-08049-ast     Doc 79       Filed 03/21/23   Entered 03/21/23 20:11:31




                                       Jeffrey P. Nolan             March 21, 2023                     310.772.2313
                                                                                                 jnolan@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
                                           The Honorable Alan S. Trust
N E W Y O R K, N Y                         United States Bankruptcy Court Eastern
H O U S T O N, T X
                                           District of New York
10100 SANTA MONICA BLVD.                   Alfonse M. D’Amato Federal
13th FLOOR
LOS ANGELES
                                           Courthouse 290 Federal Plaza
CALIFORNIA 90067-4003                      Central Islip, New York 11722
TELEPHONE: 310.277.6910
FACSIMILE: 310.201.0760
                                                   Re:    Howard M. Ehrenberg v. Arvind Walia, et al
                                                          Adv. Proc. No. 20-08049-AST
SAN FRANCISCO
150 CALIFORNIA STREET                  Dear Judge Trust:
15th FLOOR
SAN FRANCISCO
                                              Plaintiff, Howard Ehrenberg, as the duly appointed Trustee,
CALIFORNIA 94111-4500
                                       and Plaintiff in the above referenced adversary proceeding, hereby
TELEPHONE: 415.263.7000
FACSIMILE: 415.263.7010
                                       informs the court that all briefing with respect to the Motions for
                                       Summary Judgment has been completed. Below is a list of all
DELAWARE                               relevant pleadings and respective docket numbers related to the
919 NORTH MARKET STREET                Motions for Summary Judgment.
17th FLOOR
P.O. BOX 8705                                   1. Stipulation for Scheduling Order re: Briefing Schedule for
WILMINGTON                                         Summary Judgment Motions and Order Thereon [Docket
DELAWARE 19899-8705
                                                   No. 49].
TELEPHONE: 302.652.4100
FACSIMILE: 302.652.4400                         2. Motion of Defendants Arvind Walia and Niknim
                                                   Management Inc. For Partial Summary Judgment
NEW YORK                                           Dismissing Claims Asserted in the Complaint Under 11
780 THIRD AVENUE                                   U.S.C. § 544 [Docket No. 51].
34th FLOOR
NEW YORK                                        3. Notice of Defendants’ Motion For Partial Summary
NEW YORK 10017-2024
                                                   Judgment Dismissing Claims Asserted in the Complaint
TELEPHONE: 212.561.7700                            Under 11 U.S.C. § 544 [Docket No. 52].
FACSIMILE: 212.561.7777
                                                4. Plaintiff’s Notice and Motion for Summary Judgment, or in
TEXAS                                              the Alternative, Summary Adjudication as Against
440 LOUISIANA STREET                               Defendants Arvind Walia and Niknim Management, Inc.
SUITE 900
HOUSTON
                                                   [Docket No. 53].
TEXAS 77002-1062                                5. Joint Statement of Uncontroverted Facts in Support of
TELEPHONE: 713.691.9385                            Plaintiff's Motion for Summary Judgment or, in the
FACSIMILE: 713.691.9407




WEB:   www.pszjlaw.com
                                       DOCS_NY:47260.2 65004/003
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                             Alternative, Summary Adjudication; Plaintiff’s Additional
                             Statement of Facts [Docket No. 54].
                        6. Affidavit of Jeffrey P. Nolan in Support of Motion for
                           Summary Judgment, or in the Alternative, Summary
                           Adjudication as Against Defendants Arvind Walia and
                           Niknim Management, Inc. [Docket No. 55].
                        7. Affidavit of Edith Wong in Support of Motion for Summary
                           Judgment, or in the Alternative, Summary Adjudication as
                           Against Defendants Arvind Walia and Niknim Management,
                           Inc. [Docket No. 56].
                        8. Affidavit of Frank A. Lazzara in Support of Motion for
                           Summary Judgment, or in the Alternative, Summary
                           Adjudication [Docket No. 57].
                        9. Request for Judicial Notice in Support of Plaintiff’s Motion
                           for Summary Judgment, or in the Alternative, Summary
                           Adjudication as Against Defendants Arvind Walia and
                           Niknim Management, Inc. [Docket No. 58].
                        10. Opposition to Motion of Defendants Arvind Walia and
                            Niknim Management Inc. for Partial Summary Judgment
                            Dismissing Claims Asserted in the Complaint Under 11
                            U.S.C. §544 [Docket No. 60].
                        11. Plaintiff's Response to Defendants' Separate Statement of
                            Facts and Plaintiff's Additional Facts in Opposition to
                            Defendants' Motion for Summary Judgment or, in the
                            Alternative, Summary Adjudication [Docket No. 61].
                        12. Affidavit of Jeffrey P. Nolan in Support of Opposition to
                            Motion of Defendants Arvind Walia and Niknim
                            Management, Inc. for Partial Summary Judgment
                            Dismissing Claims Asserted in the Complaint Under 11
                            U.S.C. §544 [Docket No. 62].
                        13. Affidavit of Arvind Walia in Opposition to Plaintiff's Motion
                            for Summary Judgment [Docket No. 64] (refiled at Docket
                            No. 67).
                        14. Brief of Defendants in Opposition to Motion for Summary
                            Judgment [Docket No. 65] (refiled at Docket No. 68).



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                        15. Affirmation of Sanford P. Rosen in Opposition to Motion for
                            Summary Judgment [Docket No. 66] (refiled at Docket No.
                            69).
                        16. Reply of Defendants Arvind Walia and Niknim Management
                            Inc. in Support of Motion For Partial Summary Judgment
                            Dismissing Certain Claims Asserted in the Complaint
                            [Docket No. 70].
                        17. Objection and Request to Strike the Affidavit of Arvind
                            Walia Submitted in Opposition to Plaintiff’s Motion for
                            Summary Judgment, or in the Alternative, Summary
                            Adjudication [Docket No. 71].
                        18. Reply Brief in Support of Motion for Summary Judgment, or
                            in the Alternative, Summary Adjudication as Against
                            Defendants Arvind Walia and Niknim Management, Inc.
                            [Docket No. 72].
                        19. Affidavit of Jeffrey P. Nolan in Support of Plaintiff’s Motion
                            for Summary Judgment, or in the Alternative, Summary
                            Adjudication [Docket No. 73].

                                                 Very truly yours,

                                                 /s/ Jeffrey P. Nolan

                                                 Jeffrey P. Nolan
                  JPN:lsc

                  cc: (Counsel for Defendants, via ECF and email)




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